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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                               )
In the Matter of the                           )
Federal Bureau of Prisons’ Execution           )
Protocol Cases,                                )
                                               )
LEAD CASE: Roane et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                               )
THIS DOCUMENT RELATES TO:                      )
                                               )
Holder v. Barr, 19-cv-3520                     )
                                               )

   RESPONSE TO EMERGENCY MOTION FOR PRESERVATION OF EVIDENCE

       The United States respectfully responds to the motion by Plaintiff Norris Holder, Jr., for

preservation of evidence (ECF No. 219). Plaintiff’s motion seeks an order to preserve evidence

related to Plaintiff Keith Nelson, in the event his scheduled execution is carried out. The motion

asks the Court to order BOP to “preserve evidence from the execution of Mr. Nelson should it

proceed, including all IV tubing, syringes, needles and drug vials used in the execution, except

for any portion of the IV tubing and entry apparatus that must travel with the body to the coroner

because they remain connected to the body of the prisoner after execution.” (ECF No. 219 at 2).

The motion also asks the Court to order the Coroner or medical examiner—in the event that there

is an autopsy—to take specific steps as part of the autopsy. The government does not object to

either aspect of the motion, subject to two clarifications.

       First, the government wants the record to be clear that, if the Federal Bureau of Prisons

(“BOP”) does not itself request an autopsy, BOP would not consider the Coroner to be an agent

of BOP in an autopsy otherwise performed, absent circumstances not presently foreseen, and

BOP does not now speak for the Coroner in taking no objection to the proposed order.
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       Second, the government understands this motion to seek preservation of only the

specified items and not other unspecified “evidence” beyond the specific items identified in the

motion and previously ordered to be preserved by the Court’s two earlier preservation orders

(ECF Nos. 158, 163).

       With the foregoing clarifications, the government does not object to the motion.


Dated: August 27, 2020                              Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
       I hereby certify that on July 15, 2020, I caused a true and correct copy of the foregoing

Response to Emergency Motion for Preservation of Evidence (ECF No. 160) to be served on all

counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August 20, 2019

Order, below is a list of all plaintiffs’ counsel of record (as most recently identified in the

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